       Case 2:11-cv-02230-JS Document 5 Filed 05/24/11 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                           )
THOMAS AND PHYLLIS                         )    Case Number: 11-2230
O’NEILL, h/w                               )
                                           )
              Plaintiff                    )
                                           )
       vs.                                 )
                                           )
NCO FINANCIAL SYSTEMS, INC.                )
                                           )
              Defendant                    )


                           STIPULATION OF DISMISSAL

       AND NOW, this 24th day of May, 2011, it is hereby Stipulated and Agreed by

and between counsel for plaintiff and counsel for defendant in the above captioned matter

that the above captioned matter be dismissed with prejudice.



                                     Warren & Vullings, LLP


                               BY:__/s/ Bruce K. Warren
                                   Bruce K. Warren, Esquire
                                   Attorney for Plaintiff



                                     Sessions Fishman Nathan Israel LLC

                               BY:__/s/ Ross S. Enders
                                   Ross S. Enders, Esquire
                                   Attorney for Defendant
